     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 1 of 28 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JILL MCGEE,                                )
                     Plaintiff,            )
                                           )
              v.                           )       No.    11 CV 2512
                                           )
CITY OF CHICAGO, an Illinois               )       JURY DEMANDED
Municipal Corporation, ELLEN               )
O’CONNOR, individually,                    )
ROSEMARIE S. ANDOLINO,                     )
Individually,                              )
                                           )
                     Defendants.           )

                                        COMPLAINT

       Plaintiff, JILL MCGEE, by and through her attorneys, Keith L. Hunt and Bradley

E. Faber of Hunt & Associates, P.C., complains against the Defendants as follows:

                                       THE PARTIES

       1.     Jill McGee (“McGee”), seeks redress for the deprivation of McGee’s civil

and constitutional rights pursuant to 42 U.S.C. § 1983 and for violations of the

Americans with Disabilities Act of 1990 (“ADA”) (42 U.S.C. § 12101 et seq.), the Family

and Medical Leave Act (“FMLA”) (29 U.S.C. § 2601 et seq.), for retaliation and hostile

working environment and under the Equal Protection clause of the United States

Constitution. This action seeks declaratory and injunctive relief as well as damages and

other available remedies.

       2.     McGee also brings state law claims pursuant to the Court’s supplemental

jurisdiction for violations of the Illinois Human Rights Act and for intentional torts

committed against her by her immediate supervisor, Ellen O’Connor (“O’Connor”).
      Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 2 of 28 PageID #:2



       3.      McGee, is a resident of Chicago, Cook County, Illinois.

       4.      Andolino is a resident of Chicago, Cook County, Illinois. Andolino is sued

in her individual capacity.

       5.      O’Connor is a resident of Chicago, Cook County, Illinois. O’Connor is

sued in her individual capacity.

       6.      At all relevant times since March 2009, McGee has been a member of a

protected class, disabled persons and/or has been perceived as disabled.

       7.      Defendant City of Chicago (“City”) is a municipality incorporated under the

laws of the State of Illinois.

                                 JURISDICTION AND VENUE

       8.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§1331,

1343(4), 2201, 2202, and 1367.

       9.      Venue is proper under 28 U.S.C. §1391 because the acts complained of

by the Plaintiff occurred within this judicial district and because the Defendants’ principal

places of business are within this district.

                                 GENERAL ALLEGATIONS

       10.     The City created a Department of Aviation (“DOA”) to manage certain

functions associated with the operation of O’Hare International Airport and Midway

International Airport.

       11.     In February 2007, the City hired McGee as Deputy Commissioner of

Marketing and Communications within the DOA. In 2008, Plaintiff was given the

additional responsibility of overseeing Communications and her title was then changed

to Deputy Commissioner of Marketing and Communications.




                                               2
     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 3 of 28 PageID #:3



      12.    In 2007, Defendant, O’Connor, was the Deputy Director of the O’Hare

Modernization Project, within the DOA. Once Andolino became DOA Commissioner,

she placed O’Connor as Managing Deputy overseeing Human Resources, Marketing

and Communications.

      13.    At all relevant times, and at least as of March of 2009, O’Connor was

McGee’s immediate supervisor at the DOA. O’Connor is sued in her individual capacity.

      14.    At all relevant times, Defendant Rosemarie S. Andolino (“Andolino”) was

the Commissioner of the DOA. Andolino is sued in her individual capacity.

      15.    In February or at least by March 3, 2009, McGee was diagnosed with

breast cancer.

      16.    Immediately thereafter, on March 4, 2009, McGee applied for FMLA leave

with the City and/or DOA’s Human Resources department (“HR”).

      17.    On March 13, 2009, McGee received a letter from HR authorizing

intermittent Family and Medical Leave Act leave for cancer treatment and recovery.

Leave was approved for the period March 13, 2009-December 31, 2009.

      18.    That same day, March 13, 2009, McGee underwent the first of three

surgeries as treatment for her cancer. Two subsequent surgeries followed on March

19, 2009 and March 27, 2009. This was followed by a course of radiation therapy and

numerous follow-up consultations and medical appointments over the following months-

--which continue to date.

      19.    Cancer and treatment physically and emotionally weakened McGee.

      20.    Eager to return to work, in April 2009 McGee contacted O’Connor to

discuss return-to-work options. McGee was not sufficiently recovered to return to work




                                           3
     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 4 of 28 PageID #:4



full-time, but expressed that she could perform limited part-time work one to three days

a week until she was more fully recovered. She indicated she could be most helpful if

she were allowed to work from the DOA’s satellite office in downtown Chicago.

       21.    The satellite office is located at 30 North LaSalle Street, Chicago, Illinois.

       22.    Since her hiring, and prior to her cancer diagnosis McGee worked

approximately one day a week from the downtown office. The downtown office was

equipped with computers, telephones and the same access to e-mail and employees.

       23.    McGee’s job required her to attend meetings with other downtown

departments and external agencies. On days she was downtown for these meetings,

McGee would often work the remainder of the day out of the downtown office.

       24.    However, in response to McGee’s April inquiry, O’Connor sarcastically

stated “I would like to work downtown too, but that is not possible.”

       25.    O’Connor refused Plaintiff the reasonable accommodation of working days

or partial days from the downtown office. Thus, O’Connor refused McGee’s offer to

return to work in any capacity until McGee could manage the two to three hour

commute to the O’Hare office from her downtown home and doctor’s appointments.

       26.    On May 14, 2009, McGee returned to work full-time.

       27.    Upon her return, McGee submitted a request for accommodation -- ADA

accommodation letter. The letter requested that she be allowed to work from the 30

North LaSalle office intermittently -- on days when she had medical appointments and

when she experienced fatigue due to post-surgical cancer treatment. The request also

sought accommodations based on limitations for lifting, pushing/pulling, and reaching.

       28.    HR directed McGee to complete and submit the accommodation letter.




                                              4
      Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 5 of 28 PageID #:5



       29.     On May 19, 2009, a “Reasonable Accommodation Interactive Process”

memo was created by the DOA indicating that working at the downtown office would not

eliminate an essential job function nor did it find that such a request would create an

undue hardship for the DOA. Nevertheless, O’Connor denied McGee’s request.

       30.     On or about May 18, 2009, O’Connor summoned McGee to her office and

in a loud and angry tone asked McGee why she submitted the ADA request.

       31.     McGee’s submission of the ADA form upset O’Connor. O’Connor

exclaimed “this is now a legal document and I have to do something with this. Do you

know how many lawsuits we have?”

       32.     McGee informed O’Connor that she submitted the form on HR’s

instruction so she could work full-time while continuing with her cancer treatment.

       33.     O’Connor continued berating McGee about her illness and surgery.

O’Connor compared McGee to other people who “had the same thing [cancer] and did

not require any special accommodation.”

       34.     O’Connor criticized McGee, stating “you missed the last two months of

work. Do you realize all of the things that I’ve had to do in your absence? You have a

lot of catching up to do . . .”

       35.     When McGee began to tear-up, O’Connor asked her why she was upset.

McGee indicated O’Connor’s tone and language intimidated her. O’Connor indicated “I

am not yelling. You haven’t begun to hear me yell!”

       36.     On May 19, 2009 McGee met with William F. McKeown (“McKeown”), the

DOA’s Assistant Commissioner of HR.




                                             5
     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 6 of 28 PageID #:6



      37.    O’Connor was present at the meeting in her capacity as McKeown’s

supervisor and the head of Human Resources.

      38.    McKeown informed McGee her ADA request to work intermittently from

the downtown office was denied. McGee was told to use unpaid FMLA leave on days

when her illness or treatment would not allow her to make the commute to O’Hare.

      39.    McKeown’s instruction did not address the FMLA and ADA’s separate

statutory rights and protections. The City never provided a reasonable accommodation

corresponding with McGee’s disability. Upon information and belief, O’Connor urged

McKeown to deny McGee a reasonable accommodation of working intermittently from

the downtown office.

      40.    More than two months passed without any further feedback from

Defendants as to McGee’s request for a reasonable accommodation.

      41.    On July 28, 2009, McKeown advised McGee her ADA request for

accommodation was approved in part. However, McGee’s request seeking a

reasonable accommodation of working limited time from the downtown office remained

under review. McKeown requested further information from McGee in order to respond

to this aspect of the accommodation request. Throughout this time, O’Connor continued

to dispute McGee’s need for an accommodation.

      42.    Defendants did not expeditiously engage McGee in an interactive process

to seek an alternative reasonable accommodation or any reasonable accommodation

for McGee’s disability while she was receiving cancer treatment.




                                           6
     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 7 of 28 PageID #:7



      43.    McGee previously provided the City with all necessary information

concerning her ADA request, but she again provided full responses to the City’s July 28,

2009 communication.

      44.    In August of 2009, O’Connor accosted McGee in the elevator lobby of the

residential building in which both O’Connor and McGee resided. O’Connor verbally

assaulted and bullied McGee regarding work issues. McGee repeatedly requested that

they discuss any work-related issues at work.

      45.    O’Connor’s verbal assault in their residential building intimidated McGee

and embarrassed her in front of other neighbors.

      46.    On or about August 25, 2009, O’Connor e-mailed McGee and other

employees stating a weekly meeting was cancelled, but that O’Connor still expected

them to submit a weekly project list. McGee agreed to provide her list, but inquired why

the list was needed if there was not going to be a meeting.

      47.    McGee’s question infuriated O’Connor. O’Connor stormed into McGee’s

office, again berating McGee.

      48.    During this incident, O’Connor leaned into McGee’s face and threatened

and intimidated McGee, stating “ you need to start acting like a Deputy.”

      49.    McGee, fearful for what O’Connor might do, left the office and started

towards McKeown’s HR office. O’Connor followed McGee down the hallway, yelling at

her the entire way, in the presence of co-workers and other employees.

      50.    McKeown offered to mediate the situation, but O’Connor told him she did

not want the situation mediated. O’Connor requested to speak with McKeown privately,

since O’Connor was McKeown’s supervisor, and oversaw Human Resources.




                                            7
     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 8 of 28 PageID #:8



       51.    Following the private meeting, O’Connor removed McKeown as the acting

HR representative on McGee’s ADA/FMLA case.

       52.    On or about August 26, 2009, counsel for McGee submitted a letter to the

City indicating it violated her rights under the ADA, and asking that the City comply with

its legal obligations and engage in a dialogue designed to amicably resolve these

issues. The City never responded to this request.

       53.    Instead, the City and O’Connor engaged in additional discriminatory

conduct against McGee, including continuing to deny reasonable accommodation

requests with no objective evidence showing why providing the accommodation would

be an undue hardship.

       54.    From the point McGee was diagnosed with cancer and/or sought to

exercise her rights under the ADA and FMLA, Defendants subjected McGee to

heightened scrutiny as part of a larger plan to discharge McGee.

       55.    On or about September 14, O’Connor stated McGee was not adequately

managing her team or certain projects, suggesting her cancer-related absences for

treatment negatively impacted to her job performance.

       56.    O’Connor also harassed McGee questioning her legitimate absences from

work, even including McGee’s absence for jury duty.

       57.    O’Connor told McGee she was on “official notice,” telling her she could

possible face imminent termination.

       58.    September 14, 2009 was the first time McGee’s job performance at the

DOA had ever been criticized.




                                            8
     Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 9 of 28 PageID #:9



        59.   O’Connor did not provide any examples of behavior that warranted McGee

being put on final notice. O’Connor provided no guidance how McGee could adjust her

behavior or improve performance.

        60.   On or about October 29, 2009, McGee took the morning to meet with the

Mayor’s Office for Persons with Disabilities. The meeting regarded the City’s failure to

provide a reasonable accommodation or to sufficiently engage McGee regarding her

May 14, 2009 request. O’Connor was informed of this meeting before it occurred.

        61.   Even so, O’Connor criticized McGee via e-mail for not disclosing in writing

the purpose for McGee’s morning absence from the office.

        62.   On February 9, 2010, O’Connor entered McGee’s office and in a

threatening and intimidating manner informed McGee “someone was going to lose their

job . . .”, “and it is not going to be me [O’Connor].”

        63.   O’Connor directed her statements to McGee because O’Connor was

unhappy with McGee’s attempts to enforce her statutory and constitutional rights.

O’Connor intended to intimidate McGee and make her fearful she would lose her job.

        64.   At all times, McGee satisfactorily performed her job duties but was denied

reasonable accommodations under the ADA and has been retaliated against and

repeatedly harassed because she attempted to exercise her rights under the ADA and

FMLA.

        65.   On February 10, 2010, McGee filed timely charges with the Equal

Employment Opportunity Commission (“EEOC”) (charge number 440201002260).

These charges were also assigned to the Illinois Department of Human Rights (“IDHR”)

(charge number 2010 CN 3272) (Exhibit A).




                                               9
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 10 of 28 PageID #:10



       66.    On March 30, 2010, subsequent to McGee’s filings, Defendants O’Connor

and Andolino scheduled a status meeting to discuss several projects.

       67.    O’Connor gave McGee no direction on the main project up for discussion.

O’Connor’s unavailability prevented McGee from proceeding on some projects.

       68.    Nevertheless, Andolino criticized McGee’s work, and in concert with

O’Connor, threatened, intimidated and harassed McGee.

       69.    Andolino and O’Connor’s conduct largely constituted a personal attack on

McGee in retaliation for McGee’s filing of charges with the EEOC and IDHR.

       70.    Andolino retaliated against McGee by submitting a memo to McGee’s file

criticizing McGee’s work performance in an effort to “paper the file.” Andolino knew of

the pending EEOC charges when she submitted the memo to McGee’s file.

       71.    In April 2010, McGee requested FMLA leave or short-term disability leave

as a result of O’Connor’s ongoing harassment, verbal assaults and intimidation.

McGee’s treating physician insisted McGee submit such a request.

       72.    O’Connor refused to process certain documents related to this request.

These documents had been in O’Connor’s control for weeks. O’Connor’s delay in

processing these documents interfered with the leave request’s approval.

       73.    O’Connor’s delay in processing the materials constituted further retaliation

and harassment against McGee, stemming from McGee’s medical disability, ADA and

FMLA requests. O’Connor intentionally discriminated against, retaliated against and

harassed Plaintiff.

       74.    On or about April 9, 2010, McGee timely filed a second action with the

EEOC and IDHR (2010 CN 4093) (Exhibit B).




                                            10
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 11 of 28 PageID #:11



       75.    On or about April 23, 2010, McGee’s request for FMLA leave or short-term

disability leave was approved.

       76.    McGee continues to be on Personal Medical Leave, which is authorized

through April 22, 2011.

       77.    On February 28, 2011, the Illinois Department of Human Rights issued a

Right to Sue letter related to Charge Number 2010-CN-3272 (Exhibit C) and on March

14, 2011, the Department of Justice issued a Notice of Right to Sue related to charge

number 440201002260 (Exhibit D).

       78.    This Complaint is filed within 90 days of receipt of the Notice of Right to

Sue.

                                 WORKPLACE VIOLENCE

       79.    As set forth in greater detail in Count IX, and in paragraphs 43-48 above,

incorporated by reference herein, O’Connor repeatedly confronted, intimidated, and

assaulted Plaintiff placing her in fear of imminent bodily harm.

       80.    At all times, O’Connor’s conduct was calculated to instill fear and to

frighten and intimidate Plaintiff.

       81.    Plaintiff filed a workplace violence complaint against O’Connor but to date

the City has not undertaken any investigation, nor has it contacted the Plaintiff to

interview her regarding her complaints and claims. On information and belief, the City

has failed and refused to discipline O’Connor for her wrongful and unlawful conduct.

       82.    As a result of O’Connor’s conduct, including her verbal assaults and her

threats, intimidation, retaliation and harassment, Andolino’s turning a blind eye toward




                                            11
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 12 of 28 PageID #:12



such conduct and the City’s failure to investigate Plaintiff’s allegations of workplace

violence, the Plaintiff has been subjected to a hostile work environment.

                                  COUNT I
                            VIOLATION OF TITLE I
               OF THE AMERICANS WITH DISABILITIES ACT (“ADA”)
             (FAILURE TO PROVIDE REASONABLE ACCOMMODATION)
                             (AGAINST THE CITY)

       83.    The Plaintiff adopts and incorporates by reference the allegations in

paragraphs 1-77 of this Complaint.

       84.    At all times relevant to this Complaint, the City constitutes McGee’s

“employer” as defined by the ADA.

       85.    At all times relevant to this Complaint, McGee was a qualified individual

with a disability under the ADA.

       86.    McGee’s cancer constituted a disability under the ADA because it

substantially limited her major life activities, including interacting with others, sleeping,

and eating, and led in part to depression.

       87.    Title I of the ADA prohibits the City from discriminating against McGee

because of McGee’s disability in regard to advancement, discharge, employee

compensation, and other terms, conditions and privileges of employment. (42 U.S.C. §

12112(a)).

       88.    McGee was qualified to perform her job and performed her job

satisfactorily, even though she had a disability.

       89.    McGee requested a reasonable accommodation - being allowed to work

intermittently from the downtown satellite office.

       90.    The City was aware of McGee’s disability at the time of the request.




                                              12
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 13 of 28 PageID #:13



      91.      Allowing McGee to work intermittently from the downtown location or

offering some comparable reasonable accommodation would not have been an undue

hardship for the City or the DOA.

      92.      The City failed to provide a reasonable accommodation to McGee which

would have allowed her to work in a part-time or “Light Duty” capacity.

      93.      Instead of providing a reasonable accommodation to allow Plaintiff to work

occasionally from the downtown office and to attend medical treatments on her unpaid

lunch hour, the City and O’Connor forced McGee to use her unpaid FMLA leave. This

conduct constitutes an adverse employment action.

      94.      The City further violated McGee’s rights under the ADA by:

            a. failing to provide a reasonable accommodation for McGee to perform

               some work, even on days her treatment and disability prevented her from

               traveling to the O’Hare;

            b. treating McGee in a manner that adversely affected her opportunity or

               status with the DOA because of her disability when O’Connor, with

               Andolino’s knowledge, harassed McGee for submitting an ADA

               accommodation request, and when O’Connor and Andolino criticized

               McGee in person and in writing and threatened her employment, only after

               it became apparent that McGee was going to seek to enforce her ADA

               protected rights;

            c. utilizing “standards, criteria, and methods of administering the terms,

               conditions and privileges of employment” that discriminated against

               McGee on the basis of her disability;




                                             13
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 14 of 28 PageID #:14



                d. retaliating against McGee for asserting her rights under the ADA and

                   FMLA law when McGee submitted her ADA accommodation request and

                   filed a timely charge with the EEOC;

                e. coercing, intimidating, threatening and interfering with McGee's exercise of

                   her rights under the ADA; and

                f. depriving McGee of equal benefits and privileges of employment enjoyed

                   by other similarly situated employees without disabilities in violation of 29

                   CFR § 1630.2(o)(1)(iii).

          95.      Plaintiff was required to tolerate and endure O’Connor’s and Andolino’s

retaliation and harassment as a condition of her employment.

          96.      Andolino knew of and/or turned a blind eye to O’Connor’s retaliation

toward Plaintiff and harassment, even though such conduct violated McGee’s ADA

rights.

          97.      The City, through O’Connor and Andolino harassed, retaliated against and

otherwise violated McGee’s ADA rights, proximately causing Plaintiff’s injuries.


                                            COUNT II
                                     VIOLATION OF THE ADA
                                         (RETALIATION)
                                       (AGAINST THE CITY)


          98.      The Plaintiff adopts and incorporates by reference the allegations in

paragraphs 1-96 of this Complaint.

          99.      At all times relevant to this Complaint, the City constitutes McGee’s

“employer” as defined by the ADA.




                                                 14
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 15 of 28 PageID #:15



       100.   At all times relevant to this Complaint, McGee was a qualified individual

with a disability under the ADA.

       101.   McGee’s cancer constituted a disability under the ADA because it

substantially limited her major life activities, including interacting with others, sleeping,

and eating, and contributed to depression.

       102.   Title V of the ADA prohibits the City from retaliating against McGee for

opposing any practice otherwise made unlawful under the ADA, or because McGee

made a charge or participated in an investigation under the ADA.

       103.   McGee filed an ADA request form seeking a reasonable accommodation

with HR.

       104.   O’Connor confronted and criticized McGee for filing the request.

O’Connor subsequently assaulted and harassed McGee because McGee continued to

pursue a reasonable accommodation.

       105.   McGee complained or attempted to complain to HR of O’Connor’s

harassment and retaliation due to McGee seeking an ADA reasonable accommodation.

This was a protected activity under the ADA.

       106.   Because of McGee’s complaint/attempted complaint, O’Connor threatened

terminating McGee.

       107.   McGee filed charges with the EEOC based on O’Connor’s continued

harassment and hostile work environment, and based on the City’s failure to reasonably

accommodate McGee’s disability. This was a protected activity under the ADA.

       108.   In response to McGee filing EEOC charges, O’Connor continued to harass

McGee. Additionally, Andolino submitted a memo to McGee’s personnel file in an effort




                                              15
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 16 of 28 PageID #:16



to “paper the file” with negative performance critiques. This was an adverse

employment action against McGee.

       109.   Plaintiff was forced to tolerate and endure O’Connor’s retaliation and

harassment as a requirement for her employment.

       110.   Andolino knew of or turned a blind eye toward O’Connor’s retaliation and

harassment of McGee, even though such conduct violated the City’s obligations to

McGee under the ADA.

       111.   The City, through O’Connor and Andolino harassed, retaliated against and

otherwise violated McGee’s ADA rights, proximately causing Plaintiff’s injuries.


                                     COUNT III
                              VIOLATION OF §1983: ADA
                            (AGAINST ALL DEFENDANTS)

       112.   The Plaintiff adopts and incorporates by reference the allegations of

paragraphs 1-110 of the complaint.

       113.   At all relevant times, the ADA was in effect, granting McGee federally

protected rights due to her cancer and related disability.

       114.   O’Connor, in her role as McGee’s supervisor and head of HR for McGee’s

division intentionally subjected McGee to discriminatory treatment by creating a hostile

work environment, subjecting McGee to heightened scrutiny and demeaning her illness

and disability, such that the conditions of McGee’s employment were altered.

       115.   At all times O’Connor acted under color of law.

       116.   O’Connor remarked that McGee was on “official notice” of losing her job,

even though McGee had not received any negative performance evaluations prior to

that time.



                                            16
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 17 of 28 PageID #:17



       117.   O’Connor refused to provide any reasonable accommodations to McGee,

in light of McGee’s condition and actual or perceived disability.

       118.   O’Connor knew other DOA employees benefited from such

accommodations, including Erin O’Donnell (“O’Donnell”), a similarly situated employee

who was the Managing Deputy of Operations at Midway.

       119.   Other non-disabled employees, including O’Donnell have been allowed to

work intermittently from home and/or the downtown office.

       120.   Allowing McGee to work intermittently from the downtown office would not

have caused an undue hardship to the City or the DOA.

       121.   O’Connor refused to allow HR staff under her direction to grant McGee

any reasonable accommodations during the time of her cancer treatment and disability.

       122.   At all times, Andolino, in her role as the Commissioner of the DOA, and

O’Connor as head of Human Resources, acted under color of law.

       123.   Andolino violated McGee’s ADA rights when she retaliated against McGee

for filing an EEOC charge and subsequently filed a negative performance memo in

McGee’s personnel file.

       124.   Andolino was a final policymaker for policies within the DOA.

       125.   Andolino intentionally subjected McGee to discriminatory treatment or

knowingly turned a blind eye to O’Connor’s discriminatory treatment, including

heightened scrutiny and demeaning McGee because of her disability.

       126.   O’Connor and Andolino’s conduct deprived McGee of ADA protected

rights, privileges and immunities.




                                            17
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 18 of 28 PageID #:18



       127.   It was the City’s custom and policy to allow the Commissioner of the DOA

and even the Deputy Director of the O’Hare Modernization Project to control HR

personnel within the DOA.

       128.   This custom and policy essentially prevented employees such as McGee

from effectively finding reprieve through complaints against her supervisors’ illegal

conduct.

                                  COUNT IV
                    VIOLATION OF §1983: EQUAL PROTECTION
                        BASED ON DISABILITY (CANCER)
                         (AGAINST ALL DEFENDANTS)

       129.   The Plaintiff adopts and incorporates by reference the allegations of

paragraphs 1-127 of the complaint.

       130.   The City and O’Connor intentionally subjected McGee to unequal and

discriminatory treatment by creating a hostile work environment, subjecting McGee to

heightened scrutiny and demeaning her illness and disability, such that the conditions of

McGee’s employment were altered.

       131.   McGee belonged to a protected class based on her disability.

       132.   The City has recognized that the Plaintiff was disabled.

       133.   At all times, O’Connor and Andolino acted under color of law.

       134.   After McGee became disabled due to her cancer, O’Connor began

discriminating against, criticizing and demeaning McGee because of her disability.

       135.   Other non-disabled DOA employees did not receive the same intentional

disparate treatment from O’Connor.

       136.   At all times, Andolino knew of or turned a blind eye to O’Connor’s

discrimination against McGee based on McGee’s disability.



                                            18
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 19 of 28 PageID #:19



       137.   Other non-disabled DOA employees were allowed to work intermittently

from the downtown location.

       138.   O’Connor refused to allow McGee to work even a partial day from the

downtown location.

       139.   O’Connor, with Andolino’s knowledge, refused to allow any HR staff under

her control to grant any reasonable accommodations for McGee’s disability.

       140.   Also because McGee was disabled, O’Connor held McGee to a different

standard than other non-disabled DOA employees.

       141.   Even though McGee adequately continued to perform her job, O’Connor,

with Andolino’s knowledge, threatened terminating McGee stating she was on “official

notice” of losing her job.

       142.   At the time O’Connor made this statement, McGee had not incurred any

recorded marks against her job performance.

       143.   O’Connor discriminated against McGee because McGee was disabled.

       144.   The Equal Protection Clause protects McGee from being discriminated

against solely because of her disability.

       145.   McGee can enforce her Constitutional right to Equal Protection through

§1983.

       146.   At all times, Andolino was a final policymaker regarding DOA policies.

       147.   It was the City’s custom and policy to allow the Commissioner of the DOA

and even the Deputy Director of the O’Hare Modernization Project to control HR

personnel within the DOA.




                                            19
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 20 of 28 PageID #:20



       148.   This custom and policy essentially prevented employees such as McGee

from effectively finding reprieve through complaints against her supervisors’ illegal

conduct.


                                   COUNT V
           VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT (“FMLA”)
                               (DISCRIMINATION)
                          (AGAINST ALL DEFENDANTS)

       149.   The Plaintiff adopts and incorporates by reference the allegations of

paragraphs 1-147 of the complaint.

       150.   At all times, the FMLA was in effect, granting McGee certain federally

protected rights due to her serious health condition (cancer) and related treatment.

       151.   At all times McGee was employed by the City. Also, O’Connor and

Andolino were employers under the FMLA, as they acted in the direct interest of the City

relative to McGee.

       152.   McGee applied for FMLA leave immediately upon learning of her cancer –

a serious medical condition under the FMLA. McGee took FMLA leave for cancer

surgery and intermittent leave for subsequent continued cancer treatment.

       153.   After McGee applied for and took approved FMLA leave, O’Connor began

confronting and criticizing McGee due to her FMLA absences for medical treatment.

       154.   O’Connor, in her role as McGee’s supervisor and head of HR for McGee’s

division intentionally subjected McGee to discriminatory treatment by creating a hostile

work environment, subjecting McGee to heightened scrutiny and demeaning her illness

and disability, such that the conditions of McGee’s employment were altered.




                                            20
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 21 of 28 PageID #:21



      155.   After McGee filed for FMLA leave, O’Connor began engaging McGee in a

hostile manner, and threatened that McGee was on “official notice” of losing her job,

even though McGee had not incurred any negative performance marks at the time.

      156.   McGee’s taking FMLA leave as a motivating factor of O’Connor’s

discriminatory treatment.

      157.   Andolino intentionally subjected McGee to discriminatory treatment or

knowingly turned a blind eye to O’Connor’s discriminatory treatment, including

heightened scrutiny and demeaning McGee because of her FMLA protected absences

from work due to her cancer and related treatment.

      158.   O’Connor and Andolino intentionally discriminated against McGee

because McGee took FMLA leave.



                               COUNT VI
        VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT (“FMLA”)
                   (INTERFERENCE AND HARASSMENT)
                       (AGAINST ALL DEFENDANTS)

      159.   The Plaintiff adopts and incorporates by reference the allegations of

paragraphs 1-157 of the Complaint.

      160.   In addition to subjecting McGee to discriminatory treatment and a hostile

work environment, Defendants interfered with McGee’s right to FMLA leave.

      161.   The FMLA allows certain employees twelve weeks of protected leave in a

twelve-month period.

      162.   Defendants refused to allow McGee a reasonable accommodation so she

could work part-time or in “Light Duty” on certain days when she had downtown Cancer

treatment or when she was too weak to travel to O’Hare.



                                           21
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 22 of 28 PageID #:22



       163.   Instead, Defendants forced McGee to use up her FMLA-protected leave

days on such occasions.

       164.   Defendants’ intentional conduct interfered with McGee’s right to protected

FMLA time and caused McGee’s protected FMLA leave to expire prematurely.


                                    COUNT VII
                              VIOLATION OF THE FMLA
                                  (RETALIATION)
                            (AGAINST ALL DEFENDANTS)

       165.   The Plaintiff adopts and incorporates by reference the allegations of

paragraphs 1-163 of the complaint.

       166.   When McGee returned from her cancer-related surgeries and subsequent

FMLA leave, O’Connor retaliated against McGee’s FMLA absence and made various

comments to McGee indicating that O’Connor was unhappy that McGee had taken time

off including a comment that : “you have a lot of catching up to do.”

       167.   McGee complained/attempted to complain to McKeown about O’Connor’s

discrimination and criticism of McGee for taking FMLA leave.

       168.   O’Connor retaliated against McGee by, among other things:

          a. Taking McKeown off of McGee’s case;

          b. Preventing McKeown from investigating McGee’s complaint;

          c. Further harassing McGee;

          d. Threatening to terminate McGee; and

          e. Chastising and embarrassing McGee for complaining about O’Connor’s

              conduct.




                                            22
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 23 of 28 PageID #:23



       169.     O’Connor’s conduct was intended and designed to discourage McGee

from exercising her FMLA rights or from complaining about O’Connor’s discriminatory

conduct.

       170.     O’Connor intentionally retaliated against McGee by creating a hostile work

environment, subjecting McGee to heightened scrutiny and demeaning her illness and

disability, such that the conditions of McGee’s employment were altered.

       171.     McGee’s attempt to complain to McKeown and her subsequent meeting

with the City’s downtown HR department was a motivating factor of O’Connor’s

retaliatory treatment including harassing and threatening McGee’s termination.

       172.     Andolino condoned or knowingly turned a blind eye to O’Connor’s

retaliatory treatment.

       173.     Andolino retaliated against McGee for complaining to HR and for filing

charges with the EEOC by subsequently submitting a negative performance memo to

McGee’s file.

                                      COUNT VIII
                               VIOLATION OF §1983: FMLA
                              (AGAINST ALL DEFENDANTS)

       174.     The Plaintiff adopts and incorporates by reference the allegations of

paragraphs 1-172 of the Complaint.

       175.     At all times, the FMLA was in effect, granting McGee certain federally

protected rights due to her serious health condition (cancer) and related treatment.

       176.     O’Connor, in her role as McGee’s supervisor and head of HR for McGee’s

division intentionally subjected McGee to discriminatory treatment by creating a hostile




                                             23
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 24 of 28 PageID #:24



work environment, subjecting McGee to heightened scrutiny and demeaning her illness

and disability, such that the conditions of McGee’s employment were altered.

       177.   At all times O’Connor acted under color of law.

       178.   McGee filed an FMLA request seeking leave for her cancer related

surgeries, and subsequently seeking intermittent leave for continued treatment.

       179.   After McGee filed for FMLA leave, O’Connor began engaging McGee in a

hostile manner, and threatened that McGee was on “official notice” of losing her job,

even though McGee had not incurred any negative performance marks at the time.

       180.   O’Connor’s conduct discriminated against or was in retaliation for McGee

seeking to benefit from her FMLA protected rights.

       181.   At all times, Andolino, in her role as the Commissioner of the DOA, acted

under color of law.

       182.   Andolino was a final policymaker for the City for policies within the DOA.

       183.   Andolino intentionally discriminated against or knowingly turned a blind

eye to O’Connor’s intentional discrimination of McGee, including heightened scrutiny

and demeaning McGee because of her cancer and related treatment.

       184.   At all times, Andolino was a final policymaker regarding DOA policies.

       185.   It was the City’s custom and policy to allow the Commissioner of the DOA

and even the Deputy Director of the O’Hare Modernization Project to control HR

personnel within the DOA.

       186.   This custom and policy essentially prevented employees such as McGee

from effectively finding reprieve through complaints against her supervisors’ illegal

conduct.




                                            24
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 25 of 28 PageID #:25



       187.   Defendants’ conduct deprived McGee of FMLA protected rights, privileges

and immunities.

                                     COUNT IX
                               COMMON LAW ASSAULT
                                 (Against O’Connor)

       188.   The Plaintiff, Jill McGee, adopts and incorporates by reference the

allegations in Paragraphs 1 –186 of this Complaint.

       189.   On August 25, 2009, O’Connor stormed into McGee’s office, leaned into

McGee’s face and threatened McGee. When McGee attempted to find McKeown to

mediate the situation, O’Connor continued to closely follow and berate McGee.

       190.   O’Connor intended to intimidate McGee and place her in apprehension or

an imminent unwanted touch.

       191.   On no fewer than six other occasions, O’Connor’s actions towards McGee

were intended to instill fear and otherwise intimidate McGee.

       192.   McGee feared an imminent violent or unwanted touch or battery on each

of these occasions, and especially on August 25, 2009.

       193.   On another occasion, O’Connor confronted Plaintiff in an elevator and

lobby in Plaintiff’s condo building in a threatening and intimidating manner, yelling at her

and placing Plaintiff in reasonable apprehension of imminent bodily harm.

       194.   McGee’s fear or apprehension was proximately caused by her personal

knowledge of O’Connor’s short temper, malicious attitude towards McGee, and actions

including leaning into McGee’s face and closely following her down the hallway to HR.




                                            25
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 26 of 28 PageID #:26



                                     COUNT X
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                (Against O’Connor)

       195.   The Plaintiff, Jill McGee, adopts and incorporates by reference the

allegations in Paragraphs 1-193 of this Complaint.

       196.   O’Connor intended to cause severe emotional distress in McGee.

       197.   The Defendants’ conduct and workplace violence towards McGee during

a period while she was undergoing and continuously recovering from cancer-related

treatment was extreme, outrageous and beyond the bounds of moral decency.

       198.   The Defendants’ conduct was so outrageous that no reasonable person

could be expected to endure it.

       199.   As a result of the Defendants’ conduct, McGee suffered severe emotional

distress, including depression.


                                    COUNT XI
                   VIOLATION OF THE ILLINOIS HUMAN RIGHTS ACT
                           (AGAINST ALL DEFENDANTS)

       200.   Plaintiff adopts, realleges and incorporates by reference all allegations

contained in paragraphs 1-198 of this Complaint as this paragraph.

       201.   The Illinois Human Rights Act prohibits disability in employment based on

the employee’s actual or perceived disability or handicap.

       202.   Each of the Defendants constitutes an “employer” within the meaning of

the Illinois Human Rights Act with respect to claims of disability and/or handicap

discrimination.

       203.   At all relevant times as complained, McGee was a qualified individual with

a disability and/or handicap under the Illinois Human Rights Act. McGee’s cancer



                                            26
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 27 of 28 PageID #:27



constituted a disability and/or handicap, or was perceived as creating a disability or

handicap under the Illinois Human Rights Act.

       204.   McGee was qualified to perform her job and in fact performed her job

satisfactorily even though she had cancer and was undergoing treatment.

       205.   The Defendants discriminated against the Plaintiff based on her disability

and/or handicap by denying her request for accommodation, subjecting her to a

harassing and hostile work environment, by retaliating against her and by attempting to

intimidate and/or threaten the Plaintiff.

       206.   As a direct and proximate result of the Defendants’ conduct, the Plaintiff

was injured and has been damaged.

                                  PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff, Jill McGee, prays that this Honorable Court:

              a.     Enter judgment in the Plaintiff’s favor and against the Defendants;

              b.     Award the Plaintiff her actual damages suffered, including lost
       wages, back pay, benefits, and other damages to the extent permissible under
       applicable law;

             c.     Award Plaintiff compensatory damages to the extent permissible
       under applicable law;

              d.     Award Plaintiff punitive and/or exemplary damages against the
       individual Defendants only and to the extent permissible, if available, under
       applicable law;

              e.       Enjoin the City and its agents O’Connor and Andolino from violating
       the Plaintiff’s rights and from their continued harassment, intimidation and
       discrimination against Plaintiff;

              f.     Award the Plaintiff pre-judgment interest, and/or statutory penalties;

              g.     Award the Plaintiff her reasonable costs and attorneys’ fees;

              h.     Award the Plaintiff her make-whole relief, including reinstatement;



                                            27
    Case: 1:11-cv-02512 Document #: 1 Filed: 04/13/11 Page 28 of 28 PageID #:28




            i.     Award the Plaintiff front pay and/or other damages to the extent
      permissible under applicable law, if available; and

             j.     Grant Plaintiff such further relief as this Court deems appropriate
      and just.

                   THE PLAINTIFF DEMANDS A TRIAL BY JURY.

                                         Respectfully submitted,
                                         HUNT & ASSOCIATES P.C.

                                         /s/ Keith L. Hunt electronic signature
                                         By:     An Attorney for the Plaintiff
Keith L. Hunt
Bradley E. Faber
Hunt & Associates, P.C.
Three First National Plaza, Suite 2100
Chicago, Illinois 60602
(312) 558-1300




                                           28
